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                                                      14   Attorneys for Plaintiff Composite Resources, Inc.
                               L.L.P.




                                                      15                               UNITED STATES DISTRICT COURT

                                                      16                                      DISTRICT OF NEVADA

                                                      17
                                                           COMPOSITE RESOURCES, INC.,                            Case No. 2:17-cv-01755-MMD-VCF
                                                      18
                                                                                 Plaintiff,                               STATUS REPORT
                                                      19
                                                           vs.
                                                      20
                                                           RECON MEDICAL, LLC,
                                                      21
                                                                                 Defendant.
                                                      22

                                                      23          Plaintiff Composite Resources, Inc. (“CRI”), by and through its undersigned attorneys of

                                                      24   record, submits this Status Report regarding Defendant Recon Medical, LLC’s (“Recon”)

                                                      25   bankruptcy case in order to provide the Court with an update as to CRI’s efforts to obtain stay

                                                      26   relief. On September 3, 2021, Recon filed a Chapter 11 voluntary petition with the United States

                                                      27   Bankruptcy Court for the District of Nevada, Case No. 21-14382 (the “Bankruptcy Case”) and

                                                      28   filed a Notice of Bankruptcy with this Court. ECF No. 192. On September 7, 2021, this Court
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                                                       1   issued a minute order, stating that the trial date of November 29, 2021 will be vacated unless the
                                                       2   automatic stay is lifted by October 1, 2021. ECF No. 193.
                                                       3          On September 17, 2021, CRI filed a Motion to Confirm Absence of the Automatic Stay, or
                                                       4   in the alternative, Relief from the Automatic Stay to Proceed with the District Court Action for
                                                       5   Injunction Against Post Petition Patent Infringement by Debtor (the “Motion”). ECF No. 44 in
                                                       6   the Bankruptcy Case. A copy of the Motion without exhibits is attached as Exhibit A. CRI
                                                       7   requested that the Bankruptcy Court hear the Motion on shortened time. The Bankruptcy Court
                                                       8   granted this request and scheduled the hearing on the Motion for September 30, 2021 at 9:30 a.m.
                                                       9   ECF No. 53 in the Bankruptcy Case.
                                                      10          CRI asserts in the Motion that the continued, post-petition infringement by Recon is not
                                                      11   protected by the automatic stay, and therefore, requests that the Bankruptcy Court confirm that
                                                      12   the automatic stay does not apply to CRI’s attempt to obtain an injunction against the post-
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                                                      13   petition infringement in this Court. Alternatively, CRI requests relief from the automatic stay to
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                                                      14   allow the trial to proceed on November 29, 2021 on CRI’s request for an injunction against the
                               L.L.P.




                                                      15   post-petition infringement by Recon.
                                                      16          CRI will provide a further update to this Court with the result or current status of the
                                                      17   Bankruptcy Court hearing by October 1, 2021.
                                                      18

                                                      19

                                                      20         Dated: September 23, 2021                       SNELL & WILMER L.L.P.
                                                      21
                                                                                                             By: /s/ V.R. Bohman
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                                                                                                                 Attorneys for Plaintiff Composite
                                                      28                                                         Resources, Inc.

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                                                       1                                     CERTIFICATE OF SERVICE
                                                       2          I hereby certify that on September 23, 2021, I electronically transmitted the foregoing
                                                       3   STATUS REPORT to the Clerk’s Office using the CM/ECF System for filing and transmittal of
                                                       4   a Notice of Electronic Filing to all counsel in this matter; all counsel being registered to receive
                                                       5   Electronic Filing.
                                                       6

                                                       7                                                   /s/ Maricris Williams
                                                       8                                                   An employee of Snell & Wilmer L.L.P.

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                               L.L.P.




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                                                       1                                        INDEX OF EXHIBITS
                                                       2   Exhibit No.        Description                                                       No. of Pages
                                                       3   A                  Motion to Confirm Absence of the Automatic Stay, or in the 12
                                                                              alternative, Relief from the Automatic Stay to Proceed with the
                                                       4                      District Court Action for Injunction Against Post Petition Patent
                                                                              Infringement by Debtor
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                               L.L.P.




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